Case 8:10-cv-01490-EAJ Document 16 Filed 08/11/10 Page 1 of 7 PageID 213




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

PARTYLITE GIFTS, INC.,

                Plaintiff

vs.                                             Case No. 8:10-cv-01490-JDW-EAJ

TARIE MACMILLAN,

                Defendant.


             DEFENDANT’S BRIEF IN OPPOSITION TO PLAINTIFF’S
                 MOTION FOR PRELIMINARY INJUNCTION

         Defendant, TARIE MACMILLAN (“MacMillan”), by and through her

undersigned counsel, hereby files this brief in opposition to Plaintiff, (“PartyLite’s”)

Motion for Preliminary Injunction (the “Motion”) [Dkt. # 7].

                                         Summary

         The essence of PartyLite’s Motion is that MacMillan, while an independent

contractor for PartyLite, “solicited” a handful of her fellow independent contractors to

join another company (Jewels by ParkLane) using PartyLite’s confidential and

proprietary information.     While PartyLite makes overbroad generalizations that

MacMillan has continued this “raid” since being terminated on June 25, 2010 - - there is

not one specific fact set forth to support such a conclusion. PartyLite contends

MacMillan used are the names and phone numbers of PartyLite’s salesforce to make the

alleged solicitations. PartyLite claims these names and numbers are confidential,

proprietary, and trade secrets. Established case law disagrees.




17263182.1
Case 8:10-cv-01490-EAJ Document 16 Filed 08/11/10 Page 2 of 7 PageID 214




                                          Standard

         To be entitled to a preliminary injunction, PartyLite must establish four things:

(1) the likelihood that it will ultimately prevail on the merits of the claim; (2) the

irreparable nature of the threatened injury if the injunction is not granted; (3) the injury

outweighs the opposing parties'potential injury if relief is not granted; and (4) the

injunction would not do disservice to the public interest. Rosemarie v. Morton, 671 F.

Supp.2d 1311 (M.D. Fla. 2009). Plaintiff fails to meet the first two requirements.



         I.     PartyLite Has Not Established That It Will Prevail On the Merits

                        A.    PartyLite has failed to factually establish that it will
                              prevail on the merits


         PartyLite submits two declarations (Karen Conkney and Tammie King) to

purportedly establish proofs that it will prevail on the merits. Ms. Conkney’s declaration

is filled with unsupported conclusory allegations and should not be considered by this

Court. Ms. King’s declaration is the only evidence of a solicitation.

         PartyLite claims MacMillan has undertaken a “scheme to raid” the company of its

salesforce - - yet, it submitted proof of only one actual solicitation (that of Tammie King)

which allegedly occurred nearly two months ago during a lunch date. [Dkt # 7-8].

         Karen Conkney claims that she and other unidentified people received emails

and phone calls on June 24th that MacMillan had recruited several PartyLite independent

contactors. [Dkt. # 7-1 ¶ 41]. She claims an investigation of MacMillan’s facebook page

showed she had joined ParkLane – which prompted PartyLite to terminate MacMillan on




17263182.1                                     2
Case 8:10-cv-01490-EAJ Document 16 Filed 08/11/10 Page 3 of 7 PageID 215




June 25th. [Dkt. # 7-1 ¶ 46-47, Dkt. # 7-6]. In actuality, MacMillan’s facebook posting

was June 29, 2010 -- four days after her termination from PartyLite. See Exhibit 1. This

is not a non-compete case, as there is absolutely no contractual limitation upon where

MacMillan can work when she is no longer associated with PartyLite.

         PartyLite’s claims are centered on alleged non-solicitation provisions signed by

MacMillan. Aside from Ms. King, PartyLite offers no offer proofs of actual, verifiable

solicitations by MacMillan. Instead, PartyLite claims MacMillan purportedly invited two

PartyLite consultants to a jewelry party being hosted by someone other than MacMillan.

[Dkt #7-1 ¶¶ 41, 44-45; Dkt. # 7-5]. There is no allegation that MacMillan asked either

of these folks to join Jewels by ParkLane. PartyLite claims this was improper, even

though PartyLite’s own agreements allow their salesforce members to affiliate with other

direct sales companies for personal use and/or consumption. [Dkt. # 7-3 and 7-4].

         Ms. King (who did not leave PartyLite) claim’s MacMillan said she recruited 100

PartyLite independent contractors to join her at Jewels by ParkLane. There is not one

piece of evidence to substantiate this. Presumably, if this were true, PartyLite would be

able to name more than just Ms. King as persons MacMillan improperly recruited.

Admittedly, PartyLite makes bald assertion of improper solicitations ( Ms. Conkney’s

declaration claims PartyLite “was forced” to terminate 5 contracts based on “clear

information” of MacMillan’s deeds and that MacMillan recruited three “high level

leaders”). {Dkt # 7-1 ¶¶ 49 and 51]. For unknown reasons, PartyLite did not expand

upon its “clear information” of MacMillan’s misdeeds. It also did not identify the

persons allegedly recruited to allow this allegation to be confirmed or rebutted.




17263182.1                                    3
Case 8:10-cv-01490-EAJ Document 16 Filed 08/11/10 Page 4 of 7 PageID 216




         Accordingly, PartyLite has shown nothing more than that on one occasion, two

months ago, MacMillan asked a PartyLite consultant (Tammie King) to join ParkLane –

and that consultant chose not to leave PartyLite. There is absolutely no evidence that the

solicitations are ongoing requiring an injunction, or that PartyLite will be able to prevail

on its claims.

                        B. PartyLite has a failed to establish that its confidential
                        information or trade secrets were misappropriated

         As set forth more fully in MacMillan’s Motion to Dismiss (Dkt # 15) there are

multiple legal arguments as to why Plaintiff will not prevail on the merits. Relevant to

this Motion, MacMillan principally contends the information (PartyLite consultant’s

names and contact information) that she is alleged to have misappropriated is neither a

trade secret, nor confidential. Thus, Plaintiff is not likely to prevail on the merits of any

claim for an alleged misappropriation of the names and numbers of PartyLite’s sales

force.

         PartyLite claims that MacMillan could not have determined the contact

information through any source other than confidential material maintained by PartyLite.

PartyLite has not, and cannot established that the identities or contact information of its

salespeople are not generally known or publicly available. Further, PartyLite has not

alleged what specific measures it took to guard the alleged secrecy of the identity and

contact information of its salespeople, as opposed to compilations including that and

other information.

         PartyLite’s salesforce is not confidential. To the contrary, PartyLite’s

Compensation Program encourages its consultants to establish personal websites through



17263182.1                                    4
Case 8:10-cv-01490-EAJ Document 16 Filed 08/11/10 Page 5 of 7 PageID 217




which their names and contact information will be made publicly available. [Dkt. # 7-2,

at page 4]. PartyLite’s salesforce does its job by putting itself in the public domain. It

contradicts reason to believe that PartyLite, a company whose business model is to sell

products in the homes of the public, keeps the identity and contact information of its

salesforce secret.

         Information available from public sources or commercially available materials is

considered “readily ascertainable” and therefore does not qualify as a trade secret. See

Sethscot Collection, Inc. v. Drbul, 669 So. 2d 1076 (Fla. 3d DCA 1996) (holding that

customer list of fraternities and sororities obtained from commercially available materials

was readily ascertainable); Templeton v. Creative Loafing Tampa, Inc., 552 So. 2d 288

(Fla. 2d DCA 1989) (finding that information on advertiser and distribution lists not a

trade secret where it could be obtained by looking at past advertisements, newspapers,

and the yellow pages). See also Shields v. Paving Stone Co., 796 So. 2d 1267 (Fla. 4th

DCA 2001) (holding that information on customers was readily obtainable through the

yellow pages and trade subscriptions and therefore not a trade secret).

         Ultimately, if the information can be gathered from sources other than what is

claimed to be protected, it is considered to be “readily ascertainable.” See

Simplexgrinnell, L.P. v. Ghiran, No. 2:07-cv-456-FtM-29DNF, 2008 WL 2704421 at *2

(M.D. Fla. July 9, 2008) (“[I]f defendant is simply contacting customers based on his

memory, he is free to do so”); Blackstone v. Dade City Osteopathic Clinic, 511 So. 2d

1050 (Fla. 2d DCA 1987) (holding that patient list compiled from patients themselves,

phone book, and doctor’s own memory was not a trade secret). Similarly, the names and




17263182.1                                   5
Case 8:10-cv-01490-EAJ Document 16 Filed 08/11/10 Page 6 of 7 PageID 218




contact information of PartyLite’s salesforce is obtainable through the twenty first

century’s phone book - - the internet – and consultant’s personal websites. For these

reasons, MacMillan contends PartyLite will not prevail on the merits.



         II.    PartyLite Has Not Established Irreparable Harm Or Injury

         PartyLite has also not established the second element necessary for the issuance

of a preliminary injunction. In order to establish an irreparable harm or injury, PartyLite

must show that remedies at law, such as monetary damages, are inadequate to

compensate for that injury. Ebay, Inc. v. MercExchange, LLC, 547 U.S. 388, 391, 126

S.Ct. 1837, 164 L.Ed.2d 641 (2006). An injury can only be considered “irreparable” for

the purposes of a preliminary injunction if it cannot be “undone through monetary

remedies.” Cate v. Oldham, 707 F.2d 1176, 1189 (11th Cir.1983); see also Hughes

Network Systems, Inc. v. InterDigital Communications Corp., 17 F.3d 691, 694 (4th

Cir.1994) (“Where the harm suffered by the moving party may be compensated by an

award of money damages at judgment, courts generally have refused to find that harm

irreparable.”). The Declaration of Karen Conkney filed by Plaintiff in support of its

Motion, details dollar figures of sales that may be lost if MacMillan were to complete

this alleged “raid” of PartyLite’s other at-will independent contractors. [Dkt # 7-1, ¶¶

50-52]. It follows that some monetary damages can be calculated, and this militates

against a finding of irrepable harm.




17263182.1                                   6
Case 8:10-cv-01490-EAJ Document 16 Filed 08/11/10 Page 7 of 7 PageID 219




                                         Conclusion

         MacMillan respectfully requests that the Court deny Plaintiff’s Motion for

Preliminary Injunction.

                                                    /s/
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 11th, 2010, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to the following:



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17263182.1                                      7
